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                              EXHIBIT AA


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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               INTERNATIONAL ASSOCIATION OF CHIEFS OF POLICE


               RESOLUTION
                            Adopted at the 121st Annual Conference
                                        Orlando, Florida
                                       October 21, 2014

                           Pretrial Release and Detention Process
                          Submitted by: Research Advisory Committee
                                         RAC.005.T14

WHEREAS, in 2011, the IACP membership ratified a resolution proposed by the Research
Advisory Committee calling for a national law enforcement summit to address the need for bail
reform and, in particular, the urgent need for more robust pretrial services that conduct
dangerousness assessments for use by the judiciary when considering pretrial release as detailed
within the publication launched by IACP in collaboration with the Bureau of Justice Assistance
and the Pretrial Justice Institute, titled Law Enforcement’s Leadership Role in the Pretrial
Release and Detention Process; and

WHEREAS, in the United States, an estimated 12 million arrests are made each year, with the
vast majority of those arrests being for non-violent crimes (United States Department of Justice);
and

WHEREAS, the pretrial release and detention process currently utilized throughout most of the
United States relies on limited information and the use of a bail schedule, without considering
empirically developed information regarding individual risks posed by defendants; and

WHEREAS, only 10 percent of jurisdictions use a validated, empirically developed risk
assessment to inform their pretrial release decisions (Pretrial Justice Institute); and

WHEREAS, many jurisdictions have limited legal options to detain individuals who pose an
unmanageable pretrial risk or danger other than by setting a high secured bail amount in the
hopes the defendant cannot pay; and

WHEREAS, our current resource/money-based pretrial release system enables over 50 percent
of defendants who are rated higher risk to be released pretrial and defendants who are rated
lower risk are more regularly detained (VanNostrand, Lowenkamp, & Holsinger); and

WHEREAS, pretrial detainees account for more than 60 percent of the inmate population in
U.S. jails (Bureau of Justice Statistics); and

WHEREAS, the risk principle suggests that the most intensive interventions, such as pretrial
detention or pretrial supervision, should be reserved for the highest and moderate risk
individuals, respectively, and that such interventions are ineffective or harmful if applied to low
risk individuals (Lowenkamp & Latessa); and
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WHEREAS, defendants rated low risk and detained pretrial for longer than one day before their
pretrial release are more likely to commit a new crime once they are released, demonstrating that
length of time until pretrial release has a direct impact on public safety (VanNostrand et al.); and

WHEREAS, finding ways to improve pretrial release/detention decision making may prove to
be the key to increasing public safety, significantly reducing unnecessary justice system costs,
and providing a more just legal system; now, therefore, be it

RESOLVED, that the International Association of Chiefs of Police (IACP) calls for law
enforcement leaders to advocate in their jurisdictions, regions, and states for: the use of a
validated, empirically based risk assessment tool in making pretrial release and detention
decisions; legislation enabling the judiciary to use preventive detention for high-risk individuals;
and the establishment of more robust pretrial supervision services, with the purposes of
improving public safety.

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